Case 1:07-cv-01805-PLF Document 1

Filed 10/05/2007

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

DAVID R. HOSE
206 E. Whitlock Ave.
Winchester, Virginia 22601

Plaintiff,
vs.

THE UNITED STATES OF AMERICA,
SERVE ON:

Jeffrey A. Taylor

555 4"‘ Srreer, N.W.

Washington, D.C. 20530

United States Attorney for
the District of Columbia

ALSO SERVE ON:

Peter D. Keisler,

Acting Attorney General of the
United States

Department of Justice

lOth Street and Constitution
Avenue, N.W.

Washington, D.C. 20530

ALSO SERVE ON:
United Stafes Department of Defense
United States Department Of the Army
c/O Army Claims Service
4411 Llewellyn Avenue
Fort Meade, MD 20755-2101

ALSO SERVE ON:

United States Department of State
Off`lce of the Legal Adviser

Suite 203, South Building

2430 E Street, NW

Washington, DC 20037-2800

Defendant

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Case NO:

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COMPLAINT AND ELECTION OF JURY TRIAL

COl\/IES NOW, Plaintiff, David R. Hose, (hereinafter, "Mr. Hose"), by and through his
undersigned attorneys, and hereby sues Defendant, The United States of America, (hereinafter,
"The United States"), and says:

JURISDICTIONAL ALLEGATIONS

l. That this suit is brought for money damages for personal injury caused by the
negligent or Wrongful act or omission of employees of the United States While acting Within the
scope of their office or employment, and this Court has jurisdiction over the within cause of
action pursuant to the Federal Torts Claims Act, 28 U.S.C. §§ 1346(b), 2671 et siq.

2. That a substantial part of the events or omissions giving rise to the claim occurred

in this District, and venue is proper in this District pursuant to 28 U.S.C. § 1391(e)(l) and (2).

3. That at all times material hereto, David R. Hose, Was a resident of Winchester,
Virginia
4. That at all times mentioned herein, the United States Department of State

(hereinafter, "Department of State") and the United States Department of Defense (hereinafter,
"Department of Defense") are "federal agencies" Within the meaning of 28 U.S.C. § 2671.

5. That on August 29, 2003, Mr. Hose filed an FTCA Administrative Claim for
Personal Injury (lrihalation Anthrax), a completed standard form 95 and copies of related
medical, employment and insurance records, With the United States Department of State pursuant
to 28 U.S.C. § 2675, regarding the injuries and damages Which Were tortiously caused to Plaintiff
on or about October 22, 200l. S_ee Exhibit l. Mr. Hose's claim requested damages in the

amount of Twelve Million Dollars (812,000,()00.00). On October 13, 2003, Hose filed an

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Arnended FTCA Administrative Claim for Personal lnjury (Inhalation AnthraX), a completed
standard form 95 and copies of related medical, employment and insurance records, with the
United States Department of State and the United States Department of Defense c/o United
States Department of the Army, pursuant to 28 U.S.C. § 2675, regarding the injuries and
damages which were tortiously caused to Plaintiff on or about October 22, 2001. §§§ EXhibit 2.
Mr. Hose's claim requested damages in the amount of Twelve Million Dollars (312,000,00().00).
Neither the United States Department of State, nor the United States Department of Defense
have issued a final disposition of Plaintiffs administrative claim. The instant suit is duly
commenced after the passing of six months following the filing of the administrative claim, as
authorized under 28 U.S.C. § 2675(a).

FACTS COMMON TO ALL COUNTS

6. That for eleven (l l) years, Mr. Hose was a supervisor for the Department of State
incoming diplomatic pouch and mail unit at State Annex 32 (SA-32) in Sterling, Virginia. Since
1995, Mr. Hose was employed there by private independent contractor Lam Associates, Inc.,
8245 Boone Boulevard, Suite 200; Vienna, VA 22182-3832.

7. That while working at SA-32, Mr. Hose inhaled weapons-grade Baci`llus
anthracis spores (hereinafter, referred to as "anthrax" or "anthrax bacillus"), dispersed into the
air from a contaminated envelope postmarked 00tober 9, 2001. The envelope, addressed to
Senator Patrick J. Leahy, then Chair of the Judiciary Committee, had been routed through the
Virginia facility when the optical reader misread the hand-written 20510 ZIP code as 20520.
While the nature of Mr. Hose’s injuries makes it difficult to determine its exact occurrence, the

contaminated envelope reportedly arrived at SA-32 on or about October 15, 2001, from the

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Brentwood Mail Processing and Distribution Center, where two workers died of exposure to
anthrax.

8. That on Monday, October 22, 2001, while driving home from Wal-Mart, Mr.
Hose suddenly took ill. On Tuesday October 23, 2001, Mr. Hose reported to work, but was still
experiencing symptoms When those symptoms persisted, Mr. Hose went to the Winchester
Medical Center on October 24, 2001, where he was diagnosed as having been exposed to
inhalation anthrax and spent sixteen (16) days in excruciatingly pain in the Intensive Care Unit.

COUNT I
STRICT LIABILITY FOR ULTRA-HAZARDOUS ACTIVI'I`Y

9. That Mr. Hose re-alleges and incorporates herein the allegations of paragraphs l
through 8, as if fully set forth herein

10. That on or before October 15, 2001, the United States, owned, managed, grew,
experimented with, and/or was in control of a certain strain of anthrax bacterium at its Fort
Detrick, Maryland facility and other facilities

ll. That the United States knew that the activities it carried on with the anthrax
bacillus were ultra-hazardous activities in that the mere handling of microscopic quantities of
this bacillus involved a potentially high degree of risk of harm and that potential harm was likely
to be great, namely, the cause of human death.

12. That despite the above knowledge, the United States failed to adequately secure
samples of this highly toxic lethal bacillus and, as early as 1992, samples of this formidable,
dangerous, and highly lethal organism were known to be missing from the lab at Ft. Detrick,
Maryland occupied by the United States Army Medical Research Institute for Infectious

Diseases (USAMRIID), along with samples of the hanta virus and the ebola virus.

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13. That on or before October 15, 2001, the United States owed a duty of care, in fact,
the highest degree of care, to Mr. Hose, in its manufacturing, growing, handling, transporting,
utilizing, processing, analyzing, distributing, warehousing, storing, or testing of the anthrax,
based upon its ultra-hazardous and inherently dangerous nature.

14. That since the United States was engaging in the above ultra-hazardous activity, it
is liable to Mr. Hose, for his injuries, even from an unpreventable miscarriage of the above
activity, although the utmost care was exercised to prevent harm.

15. That as a direct and proximate result of the United States engaging in the ultra-
hazardous activities set forth above, anthrax was obtained either from the USAMRIID lab at Ft.
Detrick, Maryland or another location where the anthrax had previously been sent, and a portion
of it was sent on October 9, 2001, addressed to Senator Patrick J. Leahy, which was then routed
through State Annex 32 (SA-32) in Sterling, Virginia, where Hose was then exposed to the
anthrax and suffered enormous personal injury, as a result, on or about October 22, 2001.

16. That as a direct and proximate result of the ultra-hazardous activity engaged in by
the United States, Mr. Hose has been injured, has suffered damages and continues to suffer
damages, including, but not limited to, the excruciating physical and mental pain in the years
following October_22, 2001, the permanent affect on his physical and mental health, including
being forced to endure great pain, disfigurement and physical suffering, mental anguish, and
other damages, the sharply curtailed ability to enjoy life, the inability to earn income or maintain
gainful employment which he will never be able to resume and other pecuniary losses, the
ongoing and continuing medical expenses associated with his injuries, and Mr. Hose was forced

to undergo extensive and painful medical treatment for the care of his injuries.

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17. That at all times mentioned herein, Mr. Hose was free of any negligence or
contributory negligence

WHEREFORE, Plaintiff, David R. Hose, hereby demands judgment for compensatory
damages of Twelve Million Dollars (812,000,000.00) against Defendant, The United States of
America, plus costs and interest

C()UNT II
NEGLIGENCE

18. That Mr. Hose re-alleges and incorporates herein the allegations of paragraphs l
through 17, as if fully set forth herein

19. That on or before October 15, 2001 , the United States was in the business of
manufacturing handling, transporting, utilizing, processing, analyzing, distributing,
warehousing, storing, testing, and experimenting with anthrax.

20. That the substance anthrax is a known ultra-hazardous material requiring the
highest degree of care in its handling, storage, use, or possession

21. That the United States owed a duty of care and in fact, the highest degree of care
in its manufacturing handling, transporting, utilizing, processing, analyzing, distributing,
warehousing, storing, testing, or experimenting with anthrax based upon its inherently dangerous
nature.

22. That Mr. Hose's injury resulted from the negligence of the United States, in the
following respects:

A, "' That the United States failed to properly or securely maintain or store the

anthrax in its possession;

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B. That the United States failed to properly inventory, warehouse, or catalog
the anthrax in its possession;

C. That the United States failed to properly monitor employees who had
access to the anthrax;

D. That the United States failed to maintain its premises in a manner
precluding unauthorized individuals from having access to the anthrax;

E. That the United States failed to employ proper security measures to
prevent the improper use, possession, access, and/or disbursement of the anthrax;

F. l That the United States failed to establish appropriate procedures or
protocols concerning the access of employees or independent contractors to the anthrax;

G. ` That the United States failed to implement inventory or catalog or
monitoring systems in order to account for the anthrax in its possession;

1-1. That the United States failed to take appropriate security measures to
insure the possession and access to the anthrax would be limited to those individuals with proper
clearance;

l. That the United States failed to implement adequate security measures to
prevent access to the anthrax by unauthorized individuals;

J. l That the United States failed to act in a reasonable, prudent, and careful
manner in conducting background investigations prior to hiring personnel and placing them in a
position of authority and to having access to the anthrax;

K. That the United States failed to maintain a hiring system that adequately

involved background investigation, interviewing, checking of references, the checking of

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curriculum vitas, or other mechanisms to insure that job applicants Were being honest and
accurate and were suitable for employment in a position where they would have access to the
anthrax;

L. That the United States failed to make sure that its employees or
independent contractors were properly supervised and trained for the task for which they were
employed and negligently allowed them to work and handle the ultra-hazardous material,
anthrax, without proper supervision and/or training;

M. That the United States failed to take appropriate action upon actual or
constructive notice of a potential problem or problems with individuals or security involving
access to the anthrax at its facility or facilities and unreasonably failed to further investigate
and/or otherwise take corrective actions such as discharge or reassignment

N. That the United States failed to have any adequate system in place to track
the anthrax it forwarded to other laboratories, schools and companies

23. That as a direct and proximate and foreseeable result of the negligence of the
United States, anthrax was obtained and sent October 9, 2001, addressed to Senator Patrick J.
Leahy, which was then routed through State Annex 32 (SA-32) in Sterling, Virginia, where Hose
was then exposed to the anthrax and suffered enormous personal injury, as a result, on or about
October 22, 2001.

24. That as a result, Mr. Hose has been injured, has suffered damages and continues
to suffer damages, including, but not limited to, the excruciating physical and mental pain in the
years following October 22, 2001, the permanent affect on his physical and mental health,

including being forced to endure great pain, disfigurement and physical suffering, mental

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anguish, and other damages, the sharply curtailed ability to enjoy life, the inability to earn
income or maintain gainful employment which he will never be able to resume and other
pecuniary losses, the ongoing and continuing medical expenses associated with his injuries, and
Mr. Hose was forced to undergo extensive and painful medical treatment for the care of his
injuries.

25 . That at all times mentioned herein, Mr. Hose was free of any negligence or
contributory negligence

WHEREFORE, Plaintiff, David R. Hose, hereby demands judgment for compensatory
damages of Twelve Million Dollars (312,000,000.00) against Defendant, The United States of

America, plus costs and interest.

COUNT III
NEGLIGENCE (Cleaning of Mail-Sorting Machines)

26. That Mr. Hose re-alleges and incorporates herein the allegations of paragraphs 1
through 25, as if fully set forth herein.

27. That the United States owed a duty of care iri providing a safe and secure work
environment for its employees, including Mr. Hose and the employees of the Department of State
incoming diplomatic pouch and mail unit at State Annex 32 (SA-32) in Sterling, Virginia.

28. That Carl Giempietro, SA-32's Branch Chief, and federal employee David Grant,
SA-32's Building Manager, reasonably knew or should have known of the threat to human health
and safety caused by using compressed air to clean the high-speed automated mail-sorting
machines, disregarding well-established safety and health policies and standards, the machines were
reportedly still being cleaned as late as early October 2001 with compressed air rather than by
vacuuming, thereby causing the aerosolization of hazardous dust particles_including spores of

Bacillus anthracis in October 2001_-from the contaminated mail.

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29. That in the days prior to Mr. Hose's inhalation of anthrax spores, it was known that
envelopes containing such spores had been mailed, that they posed a potentially deadly threat to
persons involved in mail sorting, and that someone had already died as a result.

30. That none of the employees of the United States, in charge of SA-32 operations,
instructed Reggie Bynum, the Lam Associates employee who usually cleaned the machines, or
project manager Tony Chapman, another Lam Associates employee, to discontinue the hazardous
practice of using compressed air to clean the high-speed automated mail-sorting machines,

31. That despite knowledge that envelopes containing inhalation anthrax spores were
circulating through the United States mail, the employees of the United States in charge of SA-32
operations, acting as agents and servants within the scope of their employment, failed to halt the use
of compressed airfin the cleaning of the high-speed automated mail-sorting machines and instead
mandate vacuuming to minimize the threat posed by contaminated mail to the health and safety of
the employees under their supervision

32. That as a direct and proximate and foreseeable result of the negligence of the
employees of the United States, acting as agents and servants Within the scope of their employment,
anthrax was aerosolized when the sorting machines at SA-32, equipped With compressed air
cleaning systems; rather than vacuum cleaning systems, processed the letter addressed to Senator
Patrick J. Leahy, postmarked October 9, 2001. This aerosolized anthrax was distributed throughout
SA-32, Mr. Hose's workplace, where Mr. Hose was then exposed to the anthrax and suffered

enormous personal injury, as a result, on or about October 22, 2001.

33. That as a result of this negligence, Mr. Hose has been injured, has suffered
damages and continues to Suffer damages, including, but not limited to, the excruciating pain in
the years following October 22, 2001 , the permanent affect on his physical and mental health,

including being forced to endure great pain, disfigurement and physical suffering, mental

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anguish, and other damages, the sharply curtailed ability to enjoy life, the inability to earn
income or maintain gainful employment which he will never be able to resume and other
pecuniary losses, the ongoing and continuing medicai expenses associated with his injuries, and
Mr. Hose was forced to undergo extensive and painful medical treatment for the care of his
injuries

34. That at all times mentioned herein, Mr. Hose was free of any negligence or

contributory negligence

WHEREFORE, Plaintiff, David R. Hose, hereby demands judgment for compensatory
damages of Twelve Million Dollars (812,000,000.00) against Defendant, The United States of

America, plus costs and interest

Respectfully subm ed,
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Counselfor Plaintiyj"David R. Hose

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lN THE UNITED STATES DlSTRlCT COURT
FOR THE DISTRICT OF COLUMBIA

Filed 10/05/2007

DAVID R. HOSE
206 E. Whitlock Ave.
Winchester, Virginia 22601

Plaintiff,
vs.

THE UNITED STATES OF AMERICA,
SERVE ON:

Jeffrey A. Taylor

555 4th street N.w.

Washington, D.C. 20530

United States Attorney for
the District of Columbia

ALSO sERvE oN:

Peter D. Keisler,

ActingAttorney General of the
United States

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United States Department of the Army
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ALSO SERVE ON:

United States Department of State
Office of the Legal Adviser

Suite 203, South Building

2430 E Street, NW

Washington, DC 20037-2800

Defendant

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ELECTION OF JURY TRIAL

The Plainti'ff, David R. Hose, hereby elects to have this matter tried before a jury.

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Lesiie 1D.` Hershriéid (Fed. ear N0.427135)
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EXhibit 1

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SCHULMAN, TREEM, KAM|NKoW,
Gu_oEN & RAVENELL, P.A.

Arrc¢n~i-:vs A'r LAw
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August 29, 2003

* ALEU ADM|TI'ED IN EU
"’ ALEO ADM|`ITED |N D.C.

SENT BY CERT[FIED MA]L
United States Department of State
Ofiice of the Legal Adviser

Suite 203, South Building

2430 E Street, NW

Washington, DC 20037-2800

RE: FTCA Administrative Claim for Personal Injury (Inhalation Anthrax)
Dear Madam/Sir:

On behalf of our client, David R. Hose, one of Arnerica’s six inhalation anthrax survivors, we are
filing this administrative claim with the Department of State, seeking proper compensation from the
U.S. Government pursuant to the Federal Tort Claims Act, 28 U.S.C. §§ 2671 et seq. Mr. Hose has
suffered severe personal injuries as a proximate result of negligence by federal employees acting
within the scope of their employment at the Department of State diplomatic pouch and mail annex
in Sterling, Virginia. Enclosed please find an executed Standard Form 95, an attending physician
statement, an employer statement, and related insurance and medical records

Nature and Extent of Personal Iniurv: F or 1 1 years, Mr. Hose had been a supervisor for the incoming
pouch mail unit at State Annex 32 (SA-32). Since 1995, he had been employed there by private
independent contractor Lam Associates, Inc. (8245 BooneBoulevard, Suite 200; Vienna, VA 22182-
3832; 703-442-9830). As widely reported, Mr. Hose inhaled weapons-grade Bacillus anthracis
spores dispersed into the air from a contaminated envelope postmarked October 9, 2001. The
envelope7 addressed to Senator Patrick J. Leahy, then-Chair of the Judiciary Committee, had been
routed through the Virginia facility when the optical reader misread the hand-written 205 10 ZIP code
as 20520. While the nature of Mr. Hose’s injury makes it difficult to determine its exact occurrence,
the contaminated envelope reportedly arrived at SA-32 on or about October 15, 2001, from the
Brentwood Mail Processing and Distribution Center, where two workers died of inhalation anthrax.

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David R. Hose
Admz'm`strarive FTCA Claim
August 29, 2003

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On Monday, October 22, 2001, while driving home from Wal-Mart, Mr. Hose suddenly took ill. The
next day, Mr. Hose reported to work, but was still experiencing symptoms, as his co-worker Barbara
Fravel can attest. When those symptoms persisted, Mr. Hose went to the \Vinchester Medical Center
on October 24, 2001, where he spent 16 days in excruciatingly pain in the Intensive Care Unit. As
Washington Post Staif Writers Michael Laris and Jennifer Lenhart reported, there were “bleedin g
ulcers gnawing at his gut,” and his chest lymph nodes had “swollen up like cherry tomatoes.”

Hose was delirious, his skin so lifeless and gray his family wouldn't give him a mirror
He contracted pneumonia, and doctors drained a pint and a half of fluid from around
his lungs with a needle through his back. His heart rate shot well above 160 beats per
minute, twice its normal level. . . . His lymph nodes swelled with anthrax spores. The
bacteria multiplied and produced toxins that affected his entire body and likely caused
an irregular heartbeat that Hose developed in the hospital . . . . The treatment regimen
also eventually did its job. He finally could walk. His fever dipped. His vital signs
stabilized And he felt well enough to take a phone call from Secretary of State Colin
L. Powell. . . . When they rolled him out the hospital door after 16 hellish days, Hose
said, he remained “weak as a kitten.” Hose has begun physical therapy to rebuild
atrophied muscles t . .

T he Washingl‘on Post, “Escaping the Grip of Anthrax,” December 6, 2001.

Mr. Hose was fortunate to have survived, unlike five other Americans who died from inhalation
anthrax. But the anthrax spores radically disrupted his life. As infectious disease specialist Mark
Galbraith, M.D., Mr. Hose’s attending physician at Winchester Medical Center, confirms in his
enclosed statement, the inhalation anthrax “created a life-
* threatening infection,” resulting in “inflamation of his mediastinal
ymph nodes, decreased oxygen levels, pleural effusions, and
ubsequent complications of gastrointestinal bleeding and atrial
ibrillation.” Indeed, Dr. Galbraith warns that Mr. Hose’s
1 prognosis remains “guarded” and that “at this point [he] do[es]
not anticipate that [Mr. Hose] will return to gainful
v employment.” Residual effects include reduced stamina, easy
ii a fatigability, memory loss, and respiratory problems Mr. Hose
` requires a “combination of inhaled steroids and bronchodilators
for new onset bronchospastic airway disease.” Also, “his chronic
degenerative joint disease has flared and has required multiple medications to control his pain.” Dr.
Galbraith also reports that Mr. Ho se is being treated for depression

 
 
 
 
 
 
 
  
 
 

Additionally, Mr. Hose reports regular nausea and headaches, chrome fatigue, and joint and chest
pains He requires an inhaler every day for the anthrax-caused asthma and takes Protonix for stomach

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ulcers He takes three medicines to address his irregular heart beat, unstable blood pressure, and
chronic insomnia His immune system being compromised, he is at significantly higher risk of
contracting pneumonia and other illnesses He has developed vision problems, causing him to see
“floaters” and bright lights, and is unable to walk far, even with a cane. Mr. Hose also reports
diminished neurological functioning short-term memory loss, extreme mood swings, and depression

The inhalation anthrax has also taken its financial toll on Mr. Hose. At the time of his injury, he
earned an annual salary of $40,705,60. He is now physically incapable of resuming employment A
native of Manhattan, Kansas, he will be 61 years old this September 8th and has been married for the
past 30 years to his wife Connie Hose, who is financially dependent on him, unable to drive, and no
longer able to work They have three adult children, Sherri Libby, Terri Chrisinan, and David Hose
Il, and are not a wealthy couple Mrs. Hose, who has developed Type 11 diabetes, now devotes
herself full-time to his care, assisting him withhis physical therapy regimen, bathing, feeding, dressing,
undressing, administering medications at correct times, and preparing meals for his special diet.

Mr. Hose has been receiving Virginia Worker’s Compensation as a Lam Associates employee, but
has recently been warned that his employment may soon officially be terminated Mr. Hose is being
asked to pay all his Carefirst Blue Cross/Blue Shield medical insurance premiums He now faces the
prospect of having to find affordable medical insurance coverage despite the fact that his medical
history now includes inhalation anthrax. He receives $15 a month from Social Security, the maximum
he can receive for the next eight years He remains ineligible for Medicare until April 2004. His only
other relevant insurance coverage is a 350/month long term disability policy that runs out soon (Claim
#N63985-1-231548750-990), which was obtained through his employer with the Principal Life
lnsurance Company, 71 1 High Street, Des Moines, lowa 503 92-0001. In desperation, Mr. Hose has
had to seek financial help from the Red Cross, the Fellowship Bible Church, and family and friends
to meet his basic needs In short, Mr. Hose’s injury not only subjected him to excruciating pain and
suffering in the weeks following Octob er 22, 2001, but also has permanently affected his physical and
mental health, sharply curtailed his ability to enjoy life, and undermined his income earning capacity

Basis of Claim: We believe it is clear that one of the proximate causes of Mr. Hose’s severe injury
was the protocol negligently put into place by ofiicials at the Department of State facility for the
routine cleaning of its high-speed automated mail-sorting machines, Disregarding well-established
safety and health policies and standards, the machines at SA-32 were reportedly still being cleaned
as late as early October 2001 with compressed air rather than by vacuuming, thereby causing the
aerosolization of anthrax spores from the contaminated mail. Were it not for this hazardous practice
at SA-3 2, we think it is clear that Mr. Hose would never have inhaled anthrax spores

Our initial investigation has uncovered facts demonstrating that officials in charge of the SA-32 mail-
sorting operation knew or reasonably should have known of the danger posed by using compressed
air. On October 24, 2001, the Centers for Disease Control and Prevention belatedly issued an official

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David R. Hose
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Augusr 29, 2003

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CDC health advisory setting forth procedures “for workers potentially exposed to B. anthracis spores
while handling or processing mail.” The CDC urged that mail-sorting facilities “use an industrial
vacuum cleaner equipped with a High-Efficiency Particulate Air (HEPA) filter as the first choice for
cleaning high-speed mail-sorting equipment If blowdown/blow-off must be used, first vacuum to
remove as`much dust as possible.” The CDC advisory was based on information already widely
known “A major source of dust in mail handling facilities occurs during the operation and
maintenance of high-speed mail handling machines The ‘blowdown’ of these machines in the
maintenance operation can aerosolize particles in the size range of B. anthracis spores.”

All of this was certainly not new information Years before, the United States Postal Service had
mandated that all automated mail-sorting machines be cleaned by “[r]ernov[ing] dust by vacuuming
rather than by blowing down an area with compressed air whenever possible.” lndeed, USPS
headquarters had issued a “Dust Control” directive on May l l, 1999, urging stricter enforcement of
the vacuuming policy. Even before the 1999 directive, the National lnstitute for Occupational Safety
and Health (NIOSH) had announced that “blowout of du st from sorting machines by compressed air”
in mail-sorting facilities was the primary cause of respiratory ailments such as infections, cough,
asthma, and allergic symptoms and was conducting Health Hazard Evaluations. Meanwhile, the
Occupatiorial Safety and Health Agency (OSHA) had issued numerous citations for “improper use
of compressed air” in mail-sorting facilities '

Further investigation would only further confirm that Carl Giempietro, SA-32's State Department
Branch Chief, and federal employee David Grant, SA-32‘s Building Manager, reasonably knew or
should have known of the threat to human health and safety caused by using compressed air to clean
the automated mail-sorting machines, None of the officials in
charge of SA-32 operations, however, instructed Reggie
Bynum, the Lam Associates employee who usually cleaned the
machines, or project manager Tony Chapman, another Lam
Associates employee, to discontinue the hazardous practice

What makes the negligence of these officials particularly
egregious in Mr. Hose’s case is the fact that, in the days prior
to his inhalation of anthrax spores, it was already known that
envelopes containing such spores had been mailed, that they
posed a potentially deadly threat to persons involved in mail b
sorting, and that someone had already died as a result Yet, despite this knowledge, those in charge
of SA-32 operations failed to halt the use of compressed air in the cleaning of the mail-sorting
machines and mandate vacuuming instead to minimize the threat posed by contaminated mail to the
health and safety of the employees under their supervision Had government officials promptly taken
this or some comparably effective action upon learning of the anthrax threat, anthrax spores would
not have been aerosolized, causing such devastating injury to Mr. Hose and other mail sorters.

 

 

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David R. Hose
Adml`nistrarl`ve FTCA Claim
Augusi‘ 29, 2003

Page 5

More fundamentally, it must be said, we find it unconscionable that neither the Bush Adrninistration
nor the United States Congress has bothered to take any action whatsoever to compensate the
anthrax terrorism victims, many of whom were loyally serving the U.S. government at the time of
their injuries or deaths Elemental principles dictate that persons victimized as a result of their
association or identification with the U. S. Government or its policies should be compensated by that
government whether they work in a U_ S. mail-sorting facility, in a federal building in Oklahoma City,
or iri an embassy abroad We are frankly appalled that elected U. S. officials have shown such callous
disregard for American victims of terrorism like David HoseJ while having demonstrated such great
concern for those who were victimized in the halls of the Pentagon and in the high-rise offices of New
York’s World Trade Center. The lives of these average American civilians are no less deserving

Mr. Hose’s claim for compensation is particularly compelling, since he was injured not only because
he bravely continued doing his job, helping to sort the mail of high-level U.S. government officials
in the days following the well-publicized anthrax mail threat, but also because government officials
failed to enforce established health and safety measures that could easily have prevented his injury.

If any additional documentation is needed or desired, we would expect prompt notification so that
Mr. Hose’s administrative claim can be duly supplemented in a timely manner. We would kindly
request written continuation within two weeks of receipt that this claim has been duly presented

Since;e?ly Yours,

 

.-1":.:1”4‘:loshua R. Treem, Esq,
Tirnothy K. Dole, Esq.
Attorneys for David R. Hose

Enclosures

cc (w/o enclosures): David R_ Hose (206 E_ Whitlock Avenue, Winchester, VA 22601-443 0)
Sen. George Allen (Va.) -
Sen. John Warner (Va.)
Sen. Patrick J. Leahy (Vt.)
Rep. Frank Rn Wolf (Va.)

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INSTRUC'I‘IONS: Please read carefully the instructions on the reverse side and FORM APPROROVED
CLAIM FOR DAMAGE’ supply information requested on both sides of this form. Use additional sheet(s) if OMB NO-

 

 

 

INJURY, OR DEATH uecessary. See reverse side for additional instructions 1105-0008
' , ExPiREs 5-31-05
1. Submit To Appropriate Federal Agency: 2. Name, Address of claimant and claimant’s personal representative if

any. (See instructions on reverse.) (Number, street, city, State and Zip Code)

U.S. Department of State; Offlce of the Lega| Advisor David R_ Hose. 206 E_ Whitlock Winchester

 

 

Suite 203, South BUlldll'lQ, 2430 E. Street NW VA 22601_4430 Joshua Treem ESq . 401 E
WaSh'"gt°"» DC 20037'2390 y Pratt st., ste. 1800; Baitzmore, Mo 21202
3. TYPE OF EMPLOYME 4. DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M)

mm emma 09/08/1942 -Married approx. 10/9/01-10/22/01 unknown

 

 

 

 

 

8. Basis of Claim (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the
place of occurrence and the cause thereof (Use additional pages if necessary.)

See Attached Letter, incorporated herein by reference

 

9. Pnoi>ERTY nAMAGE

 

NAME AND A.DDRESS OF OW`NER., lF O'I`HER THAN CLAIMANT(Number, stree¢, cily, State, and Zip Code)

N/A

 

BRIEFLY DESCR(BE THE PROPERT'Y, NATURE AND EXTENT OF DAMAGE AND THE LGCATION WHBRE PR.OPERTY MAY BE INSPECTED. (See
instructions on reverse side)

N/A

 

10. PERSONAL lNJURY/WRONGFUL DEATH

 

STATE NATURE AND EXTEN'I` OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS 'I`HE BASIS OF THE CLAIM. IF OTHER THAN CLA.IMANT, S'I`ATE
NAME OF !NJURED PERSON OR DECEDENT 7

See Attached Letter, incorporated herein by reference

 

l l. WITNESSES

 

 

NAME ADDRESS(Number, street, ci{`i, State; and Zip Code)

Carl Giempietro; David Grant; Tony (Glempietro) 101 lnt‘| Dr.; Ster|ing, VA 20166-9442; (Grant)
Chapman, Barbara Frave|, Reggie Bynum unknown; (Chapman, Frave|, Bynum)` Lam As_sociates, |nc.,
8245 Boone Blvd., Ste. 200; Vienna, VA 22182-3832

 

 

 

 

12. (See instructions on reverse) AMOUNT OF CLAIM(in dallars)
12a. PROPERTY DAMAGE ` 12b. PERSONAL INJURY 1 v 12c. WRONGFUL DEA'I`H lZd. TOTAL (Failure ta specify may
causejbrj‘eiture of your rights.)
N/A 12 000 000.00 N/A
$ ’ ’ $12,000,000.00

 

 

 

 

l CERT!FY THAT TI'IE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE ACCIDENT ABOVE AND AGREE TO
ACCEPT SA]DAMOUNT IN FULL SATISFACT!ON AND FINAL SE'['I`LEMENT OF THIS CLAIM

 

 

 

 

 

 

13a SIGNATU P C A\§E j(.$ee ` ` ctions reverse side.) 13.b Phone number of signatory 14§ATE OF CI_JAIM
" M » M% , 540-678-8953 -¢£L 9 '0 3 l
CIVIL PENALTY FOR PRESENTING CR!MINAL PENALT¥ FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM ' CLAIM OR MAKING FALSE STATEMENTS
The claimant shall forfeit and pay to the United States the sum of not less than $5,000 ' Imprisonment for not more than live years and shall be subject to a fine of not less
and not more than 510,000, plus 3 times the amount of damages sustained by the than $5,000 and not more than 810,000, plus 3 times the amount of damages
United States. (See 31 U.S.C. 3 729.) , sustained by the United States. (See 18 U.S.C.A. 287.)
95-108 NSN 7540-00-634-4046 . . STANDARD FORM 95 (Rev. 7-85)
Previous editions not usable PRESCRIBED BY DEPT. OF JUST!CE

28 CFR 14.2

 

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Offlce ofthe Legal Adviser
Suite 203, South Building
2430 E Street, NW
Washington, DC 20037_230()

 

Septembcr 29, 2003
Via, U.S. Mail

Joshua R. Trcem, Esq.

Timothy K. Dolc, Esq.

Schulman, Trecm, Kaminl<ow,
Gilden & Ravcncll, P.A.

Suite 1800, The World Trade Centcr

401 East Pratt Street

Baltimore, MD 21202

Re: Administrative Tort Claim of David R., Hose
Dear Messrs.. Trcem and Dolc:

The purpose of this letter is to inform you that the tort claim and related materials
you submitted on behalf of your client, Mr. David Hose, Were received by this office on
September 3, 2003. The Ofiice of International Claims and lnvestmcnt Disputcs (L/CID)
is responsible for processing administrative tort claims that are presented to the
Department of Statc.

The claims Will be considered under the Fedcral Tort Claims Act (FTCA), 28
U.S.C. §§ l346(b), 2671-2680.. This statute, in conjunction With other law, provides a
limited Waiver of United States sovereign immunity in the case of certain tort claims for
money damages To succeed in an administratch tort claim, the claimant must show that
the injury or damage occurred as a result of a negligent or Wrongful act or omission of an
employee of the United States Govemment acting Within the scope of his or her
employment

Based on the information you providcd, We Will conduct an investigation into the
merits of your client’s claim. Please be patient, as We try to resolve tort claims in the
order that we receive them. If Wc need additional information, We Will contact you
directly. You Will bc notified of our decision regarding the claims by mail. lf you have
any questions, you may call me at (202) 776-8440.

   

cvin M. Gle
Attorney-Advlser

OCT ll 3 2003 `“

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EXhibit 2

Case 1:07-cv-01805-PLF Document 1

ScHuLMAN, TREEM, KAMINKoW,
GILDEN & RAVENELL, P.A.

suiTE 1 EEJD, THE wDR\_D TRADE t:ENTER
401 EAST PRAYT ETREET
EALTlMuRE, MARYLAND 21202

k,tr.:rsv-n.lA R. TREEM`
RDEERT B. ScHuLMAN
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thN J. EATz-:S
c:REBTcJN P. ervier

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"'\"“ ALSO ADM|TTED lN NY

SENT~ BY CERTIFIED MAIL

United States Department of Defense
United States Department of the Army
c/o Army Claims Service

4411 Llewellyn Avenue

Fort Meade, MD 20755-2101

United States Department of State
Gftice of the Legal Adviser

Attn: Kevin M. Gleeson, Esq.
Suite 203, South Building

2430 E Street, NW

Washington, DC 20037-2800

ATTDRNE-IYS AT l.AW

WWW~BTKERLA\'V.[ZDM

Filed 10/05/2007 Page 23 of 31

PHDNEE: 41£1~332-[:\850
410'659-1:|111
FAC'.S\M:LE: 410-332-13866

October l3, 2003

RE: Amended FTCA Administrative Personal Injury Claim (Inhalation Anthrax)

Dear Madams/Sirs:

On behalf of our client, David R. Hose, one of America’s six inhalation anthrax survivors, We are
filing this amended administrative claim With the Department ofDefense, Department of the Arrny,
and Department of State, seeking proper compensation from the U.S. Government pursuant to the
Federal Tort Claims Act, 28 U.S.C. §§ 2671 et seq. Mr. Hose has Suffered severe personal injuries
as a proximate result of negligence by federal employees in these agencies acting Within the scope
of their employment Enclosed please find an executed Standard Form 95 and copies of related
medical, employment and insurance records (Note: copies previously sent to Department of State).

Nature and Extent of Personal lniurv: F or l l years, Mr. Ho se had been a supervisor for the
Department of State incoming diplomatic pouch and mail unit at State Annex 32 (SA-32) in Sterling,
Virginia. Since l 995, he had been employed there by private independent contractor Lam Associates,

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David R. Hose

Amended Administraz‘ive FTCA Claim
October ]3, 2003

Page 2

lnc. (8245 Boone Boulevard, Suite 200; Vienna, VA 22182-3832; 703-442-9830). As widely
reported, Mr. Hose inhaled weapons-grade Bacillus anthracis spores dispersed into the air from a
contaminated envelope postmarked October 9, 2001. The envelope, addressed to Senator Patrick J.
Leahy, then-Chair of the Judiciary Committee, had been routed through the Virginia facility when
the optical reader misread the hand~written 20510 ZIP code as
20520. While the nature of Mr. Hose’ s injuries makes it difficult
to determine its exact occurrence, the contaminated envelope
reportedly arrived at SA-32 on or about October 15, 2001, from
the Brentwood Mail Processing and Distribution Center, where
two workers died of inhalation anthrax.

On Monday, October 22, 2001, while driving home from Wal-
Mart, Mr. Hose suddenly took ill. The next day, l\/lr. Hose
reported to work, but was still experiencing symptoms, as his co-
worker Barbara Fravel can attest. When those symptoms
persisted, Mr. Hose went to the Winchester Medical Center on October 24, 2001, where he spent 16
days in excrueiatingly pain in the lntensive Care Unit. As Washingz‘on Post Staff Writers l\/lichael
Laris and Jennifer Lenhart reported, there were “bleeding ulcers gnawing at his gut,” and his chest
lymph nodes had “swollen up like cherry tomatoes.”

 

Hose was delirious, his skin so lifeless and gray his family wouldn't give him a
mirror He contracted pneumonia, and doctors drained a pint and a half of fluid from
around his lungs with a needle through his back. His heart rate shot well above 160
beats per minute, twice its normal level. . . . His lymph nodes swelled with anthrax
spores. The bacteria multiplied and produced toxins that affected his entire body and
likely caused an irregular heartbeat that Hose developed in the hospital . . . . The
treatment regimen also eventually did its job. He finally could walk. His fever
dipped. His vital signs stabilized And he felt well enough to take a phone call from
Secretary of State Colin L. Powell. . . . When they rolled him out the hospital door
after 16 hellish days, Hose said, he remained “weak as a kitten.” Hose has begun
physical therapy to rebuild atrophied muscles. . . .

The Washz`ngton Post, “Escaping the Grip of Anthrax,” December 6, 2001.

Mr. Hose was fortunate to have survived, unlike five other Americans who died from inhalation
anthrax But the anthrax spores radically disrupted his life. As infectious disease specialist Mark
Galbraith, M.D., Mr. Hose’s attending physician at Winchester Medical Center, confirms in his
enclosed statement, the inhalation anthrax “created a life-threatening infection,” resulting in
“inflamation of his mediastinal lymph nodes, decreased oxygen levels, pleural effusions, and
subsequent complications of gastrointestinal bleeding and atrial fibrillation.” lndeed, Dr. Galbraith

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David R. Hose

Amended Adminz`strative FTCA Claim
October ]3, 2003

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warns that l\/lr. Hose’s prognosis remains “guarded” and that “at this point [he] do[es] not anticipate
that [l\/lr. Hose] will return to gainful employment.” Residual effects include reduced stamina, easy
fatigability, memory loss, and respiratory problems Mr. Hose requires a “combination of inhaled
steroids and bronchodilators for new onset bronchospastic airway disease.” Also, “his chronic
degenerative joint disease has flared and has required multiple medications to control his pain.” Dr.
Galbraith also reports that Mr. Hose is being treated for depression

Mr. Hose reports regular nausea and headaches, chronic fatigue, and joint and chest pains. He
requires an inhaler every day for the anthrax-caused asthma and takes Protonix for stomach ulcers.
He takes three medicines to address his irregular heart beat, unstable blood pressure, and chronic
insomnia. His immune system being compromised, he is at significantly higher risk of contracting
pneumonia and other illnesses. He has developed vision problems, causing him to see “floaters’7 and
bright lights, and is unable to walk far, even with a cane. l\/lr. Hose also reports diminished
neurological functioning, short-term memory loss, extreme mood swings, and depression

The inhalation anthrax has also taken its financial toll. At the time of his injuries, Mr. Hose earned
an annual salary of $40,705.60. He is now physically incapable of resuming employment A native
ofl\/lanhattan, Kansas, he will be 61 years old this September 8th and has been married for the past
30 years to his wife Connie Hose, who is financially dependent on him, unable to drive, and no
longer able to work. They have three adult children, Sherri Libby, Terri Chrisman, and David Hose
ll, and are not a wealthy couple. l\/lrs. Hose, who has developed Type ll diabetes, now devotes herself
full-time to his care, assisting him with his physical therapy regimen, bathing, feeding, dressing,
undressing, administering medications at correct times, and preparing meals for his special diet.

Mr. Hose has been receiving Virginia Worker’s Compensation as a Lam Associates employee, but
has recently been warned that his employment may soon officially be terminated l\/lr. Hose is being
asked to pay all his Carefirst Blue Cross/Blue Shield medical insurance premiums He now faces the
prospect of having to find affordable medical insurance coverage despite the fact that his medical
history now includes inhalation anthrax. He receives 315 a month from Social Security, the
maximum he can receive for the next eight years. He remains ineligible for l\/ledicare until April
2004. His only other relevant insurance coverage is a 350/month long term disability policy that runs
out soon (Claim #N63985-1»231548750-990), which was obtained through his employer with the
Principal Life lnsurance Complany, 71 1 High Street, Des Moines, lowa 50392. ln desperation, Mr.
Hose has had to seek financial help from the Red Cross, the Fellowship Bible Church, and family
and friends to meet his basic needs. Mr. Hose’s injuries not only subjected him to excruciating pain
in the weeks following October 22, 2001, but also has permanently affected his physical and mental
health, sharply curtailed his ability to enj oy life, and undermined his income earning capacity.

Basis of Claim: While the person who mailed the anthrax-contaminated envelopes to Capitol Hill
has yet to be identified or prosecuted, geneticist Paul Keim at Northern Arizona University in

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David R. Hose

Amended Admz`nistmtive FTCA Claim
October ]3, 2003

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Flagstaff and the lnstitute for Genomic Research in Rockville, l\/ld., have reportedly concluded,
based on DNA sequence comparisons that the weapons-grade (l to 5 microns) Ames-strain spores
mailed were likely produced at the U.S. Army l\/ledical Researeh lnstitute of lnfectious Diseases
(USAMRHD) at Fort Detrick, Md. or another laboratory participating in the U.S. Defense
l)epartment’ s germ warfare pro gram. A scientist told the Washington Post for a December 16, 2001
article that “the original source” of the anthrax in the D.C. letters “had to have been USAMRIID,”
the custodian of significant military stocks of anthrax.

The U.S. Government evidently was responsible for the ultra hazardous and abnormally dangerous
manufacture, testing, storage, utilization, inventory, maintenance and/or control of the Ames-strain
Bacillus anthracis spores that so severely injured Mr. Hose. The Department of Defense negligently
failed to take sufficient steps to properly monitor, maintain, store, account for, transport, identify
and/or secure the anthrax spores that were grown and used for experiments on premises under its
eontrol. 'fhose lax security measures made it possible for z
anthrax spore samples to be removed from government- l
controlled premises, which the evidence is expected to
show was a but-for cause of l\/lr. Hose’s injuries The
U.S. Government knew or should have known prior to
Mr. Hose’s injuries about this lack of proper security
measures and that its ultra hazardous activity posed a
high degree of risk to others and that the potential for _
said harm was great, and yet it failed to institute 1
adequate safeguards The Department of Defense
reportedly distributed samples of Bacillus anthracis to facilities across the country--and
overseas_without proper security procedures to inventory, monitor and track them so as to guard
against terrorist use. Thus, as a proximate result of the U.S. Governrnent’ s ne gligence, Mr. Hose was
exposed to weapons-grade anthrax spores in Sterling, Va., causing him severe injuries

 

Additionally, the General Accounting ()ffice recently reported security weaknesses in the Pentagon’ s
lnternet sales of surplus biological and chemical laboratory equipment that could be used to produce
biochemical weaponry. The Defense Department had inadequate security measures in place to
prevent such equipment from ending up in the hands of would-be bioterrorists. As the anthrax
investigation continues, the evidence could ultimately establish that such negligence by the Defense
Department was also a key proximate cause of Mr. Hose’ injuries from inhalation anthrax.

Another proximate cause of Mr. Hose’s severe injuries was the protocol negligently put into place
by officials at the State Department facility where he worked for the routine cleaning of its high-
speed automated mail-sorting machines Disregarding well-established safety and health policies and
standards the machines were reportedly still being cleaned as late as early October 2001 with
compressed air rather than by vacuuming, thereby causing the aerosolization of hazardous dust

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David R. Hose

Amerzded Adml`nistmtz`ve FTCA Claim
UCZOber ]3, 2003

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particles-~including spores of Bacillus anthracis in October 2001-from the contaminated mail.
Were it not for this hazardous practice at SA-32, Mr. Hose would not have inhaled anthrax spores

Our initial investigation has uncovered facts showing that officials in charge of the SA-32 mail-
sorting operation knew or reasonably should have known of the danger posed by using compressed
air” On October 24, 2001, the Centers for Disease Control and Prevention belatedly issued an official
W CDC health advisory setting forth procedures “for workers

potentially exposed to B. anthracis spores while handling or
‘*"` processing mail.” The CDC urged that mail-sorting facilities
'/ “use an industrial vacuum cleaner equipped with a
High-Efficiency Particulate Air (HEPA) filter as the first choice
for cleaning high-speed mail-sorting equipment lf
o ` blowdown/blow-off must be used, first vacuum to remove as
much dust as possible.” The CDC advisory was based on
information already widely known: “A major source of dust in
mail handling facilities occurs during the operation and
maintenance of high-speed mail handling machines The
‘bl.owdown’ of these machines in the maintenance operation can aerosolize particles in the size range
of B. anthracis spores.”

 

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All of this was certainly not new information Years before, the United States Postal Service had
mandated that all automated mail-sorting machines be cleaned by “[r]emov[ing] dust by vacuuming
rather than by blowing down an area with compressed air whenever possible.” lndeed, USPS
headquarters had issued a “Dust Control” directive on May l l, 1999, urging stricter enforcement of
the vacuuming policy. Even before the 1999 directive, the National lnstitute for Occupational Safety
and l-lealth (NlOSl‘l) had announced that “blowout of dust from sorting machines by compressed air”
in mail-sorting facilities was the primary cause of respiratory ailments such as infections cough,
asthma, and allergic symptoms and was conducting Health Hazard Evaluations Meanwhile, the
Oceupational Safety and Health Agency (OSHA) had issued numerous citations for “improper use
of compressed air” in mail-sorting facilities

Further investigation would only confirm that Carl Giempietro, SA-32‘s Branch Chief, and federal
employee David Grant, SA-32's Building Manager, reasonably knew or should have known of the
threat to human health and safety caused by using compressed air to clean the automated mail-sorting
machines None of the officials in charge of SA-32 operations however, instructed Reggie Bynum,
the Lam Associates employee who usually cleaned the machines, or project manager Tony Chapman,
another Lam Associates employee, to discontinue the hazardous practice

What makes the negligence of these officials particularly egregious in l\/lr. Hose’s case is the fact
that, in the days prior to his inhalation of anthrax spores, it was already known that envelopes

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David R. Hose

Amerza'ed Admim`stmfz`ve FTCA Claim
October ]3, 2003

.Page` 6

containing such spores had been mailed, that they posed a potentially deadly threat to persons
involved in mail sorting, and that Someone had already died as a result. Yet, despite this knowledge,
those in charge of SA-32 operations failed to halt the use of compressed air in the cleaning of the
mail-sorting machines and instead mandate vacuuming to minimize the threat posed by contaminated
mail to the health and safety of the employees under their supervision Had officials promptly taken
this or some comparably effective action upon learning of the anthrax threat, anthrax spores would
not have been aerosolized, causing such devastating injuries to Mr. Hose and other mail sorters.

Potential witnesses in addition to David Hose include the following: Carl Giempietro, 101
lnternational Drive, Sterling, VA 20166-9442; David Grant; Tony Chapman, Barbara Fravel, and
Reggie Bynum, Lam Associates lnc., 8245 Boone Blvd., Suite 200, Vienna, VA 22182-3832; l\/Iark
Galbraith, M.D., lnfectious Disease Specialist, Selma l\/ledical Associates 104 Selma Drive,
Winchester, VA 22601; William C. Patrick lll, Ph.D.; Steven J. Hatfill; Paul S. Keim, Ph.D.,
Northern Arizona University, Flagstaff, AZ 86001; Don Foster, Ph.D., Vassar College, 124
`Raymond Avenue, Poughkeepsie, NY 12604; l\/latthew Meselson, Ph.D., Department of Molecular
and Cellular Biology, Harvard University, Cambridge, MA; Philip S. Brachman, Ph.D., Department
oflnternational li"lealth, Rollins School of Public Health, Ernory University; Bradley Perkins, M.D.,
Dr. Arnold F. Kaufrnann, Centers for Disease Control (CDC), Atlanta, GA.; Kenneth Alibek, Ph.D.,
President, Hadron Advanced Biosystems, Center for Biodefense, George Mason University,
Manassas, VA; Dr. Barbara Hatch Rosenberg, Chair of Working Group on Biological Weapons,
Federation of American Scientists, NY; Richard Crosland, Ph.D., 6001 Executive Boulevard,
Bethesda, MD 20892-9529; Ayaad Assaad, M.D., 8019 Hollow Reed Court, Frederick, MD 21701;
ResemaWA. l\/chermott, Esq., Counsel for Assaad, 128 E. Main Street, Thurmont, MD 21788; Col.
Arthur Friedlander, Col. Charles Eitzen, Col, David R. Franz, Lt. Col. Dr. Philip M. Zack, Lt. Clint
Taylor, Kay Mereish, Elise Bridges, John Ezzel, Marian Rippy, Kathy Wilhelmsen, USAMRllD,
1425 Porter St., Fort Detrick, Frederick, l\/lD 21702-5011; Mark Wilson, Scott Decker, Federal
Bureau of lnvestigation, Washington Field Office, Washington, DC 2003; Michael Laris, Jennifer
Lenhart, Gary l\/latsumoto, The Washington Post, Washington, D.C.; Nicholas D. Kristof, The New
York Times; Scott Shane, The Baltimore Sun.

More fundamentally, it must be said, we find it unconscionable that neither the Bush Adrninistration
nor the United States Congress has taken any action whatsoever to compensate the anthrax terrorism
victims, many of whom were loyally serving their government at the time of their injuries or deaths
Elemental principles dictate that persons victimized by domestic or foreign terrorists as a direct result
of their association or identification with the U.S. Government or its policies should be compensated
by that government, whether they work in a U.S. mail-sorting facility, a federal building in
Oklahoma City, or an embassy abroad. We are frankly appalled at the callous disregard that elected
UrS. officials have shown for American victims of terrorism like David Hose, in contrast with the
great concern shown for those victimized in the halls of the Pentagon and the high-rise offices of the
New York World Trade Center. The lives of these average American civilians are no less deserving

  

Case 1:07-cv-01805-PLF Document 1 Filed 10/05/2007 Page 29 of 31

David R. Hose

Amena'ed Admz'nistratz`ve FTCA Claim
October ]3, 2003

Page 7

l\/lr. Hose’ s claim for compensation is particularly compelling, since he was injured not only because
he bravely continued doing his job, helping to sort the mail of high-level U.S. government officials
in the days following the well-publicized anthrax mail threat, but also because officials negligently
(a) failed to institute adequate security measures for the proper handling of weapons-grade anthrax
spores and (b) failed to enforce established health and safety measures at the mail-sorting facility
where Mr. Hose Worked. Either safeguard could have readily prevented Mr. Hose’s injuries

lf any additional documentation is needed or desired, we would expect prompt notification so that
Mr. Hose’s administrative claim can be duly supplemented in a timely manner. We would kindly

request written confirmation within two weeks of receipt that this claim has been duly presented

Sincerely Yours,

 
 

shua R. 'l`reem, Esq.

Maa

Tirnothy K. Dole, Esq.
Attorneys for David R. Hose

Enclosures

cc (w/o attachments): David R. Hose (206 E. Whitlock Avenue, Winchester, VA 22601-4430)
U.S. Department of Defense (1155 Defense Pentagon, Wash., DC 20301)
Sen. George Allen (Va.)
Sen. John Warner (Va.)
Sen. Patrick J. Leahy (Vt.)
Rep. Frank R. Wolf (Va.)

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AMENDED

 

INSTRUCTIONS: Please read carefully the instructions on the reverse side and FORM APPROROVED
CLAIM FOR DAMAGE’ supply information requested on both sides of this form. Use additional sheet(s) if OMB NO#

 

 

 

 

 

INJURY, OR DEATH necessary See reverse side for additional instructions llz§?§§%(;g 5 31 05
l. Submil 1`o Appropriate Federal Agency; 2. Name, Address of claimant and claimant's personal representativc, if
any4 (See instruc!ions on reverse.) (Number, s!‘ree!, cily, State and Zip Cade)
§§ gepa:me"§ O; glale David R. Hose; 206 E. Whitlock; winchester
U~S- Department Of the ‘:\"S@ vA 22601-4430; Joshua Treem, Esq.; 401 E.
~ ~ epa men 0 6 lmy Pratt st., sre_ 1800; eaitimore, Mo 21202
3. TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5. MARI”I:AL STATUS 6. DATE AND DAY OF ACCIDENT 7. TIME (A.ll/I. OR P,M)
MlLiTAnY ClvlLLAN X 09/08/1942 Mal'|"led HDDFOX 10/15/01"10/22/0 Ulll(nOWn

 

 

 

 

 

8. Basis of Claim (Szate in detail the known facts and circumstances attending the damagel injury or death, identifying persons and property involved, the
place of occurrence and the cause thereoj) (Use additional pages if necessary )

See Attaehed Letter, incorporated herein by reference

 

9 PROPERTY DAMAGE

 

NAME AND ADDRESS OF OWNER, lF OTHER THAN CLAIMANT(Number, streetx ci!y, State, and Zt`p Code}

N/A

 

BRlEFLY DESCRIBE 'l`HE PROPERTY, NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERTY MAY BE l`NSPEC'l`ED. (See
instructions on reverse side)

N/A

 

10. PERSGNAL INJUR¥/WRONGFUL DEATH

 

STATE NATURE AND EXTENT Olj` EACH lNJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAlM. lF OTHER THAN CLAIMANT, STATE
NAMF. OF lNJURED PERSON OR DECEDENT

Persona| injury from inhalation of anthrax spores; see Attached l_etter, incorporated herein by referenced

 

l l. WITNESSES

 

NAME ADDR_ES_S (Nurnber, street, city, State, and Zip Code)

 

See Attaehed l_etter, incorporated herein

See Attached Letter, incorporated herein by reference
by reference

 

 

 

12. (See instructions on reverse) AMOUNT OF CLAIM_(in dollars)
12a. PROPERTY DAMAGE 12b. PERSONAL rNIURY 120. WRONGFUL DEA'I`H 12d. TOTAL (Failure m speczj§) may
cause forfeiture of your rights.)
N/A 12 000 000.00 N/A
$ ' ’ $12,000,000.00

 

 

 

 

I CERTIFY THAT THE AMOUN'I` OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE ACCIDENT ABOVE AND AGREE TO
ACCEPT SAIP-i\MOUNT INn FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM

 

 

 

 

 

isa sr NATYS>MNKSM US an §§ adea 13a rhone number orsignawry )1<1 mrs oFiLAn\/;
l ` w ., , j 540-678-8953 /@- / ~0¢’

 

 

CIVIL PENALTY FOR PRE'§ENTING CRIMINAL PENALTY FOR PRESENTING 'FR\AUI)ULENT
FRAUDULEN'I` CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant shall forfeit and pay to the United States the sum of not less than $5,000 lmprisonment for not more than five years and shall be subject to a fine of not less
and not more than $10,000, plus 3 times the amount of damages sustained by the than $5,000 and not more than $10,000, plus 3 times the amount of damages
United States (See 31 U.S.C. 3729.) sustained by the United States (See 18 U.S.CrA. 2874)
95-108 NSN 7540-00-634-4046 STANDARD FORl\/I 95 (Rev. 7-85)
Previous editions nut usable PRESCRIBED BY DEPT. OF JUS'I`ICE

28 CFR 14.2

 

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PRIVACY AC'I` NOTICE

This Notice is provided in accordance with the Privacy Act, 5 U.S,C 552a(e)(3`),
and concerns the information requested in the letter to which this Notice is attached
A. Authomy: The requested information is solicited pursuant to one or more of the
following: 5 U.S.Ci 30|, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28
C.F.R, Part l4.

l B. Pri)zcipal Purpose.' The information requested is to he used in evaluating claims

C. Routine Use: See the Noticcs ol`Systems ofRecords for the agency to whom you
are submitting this form for this information

D. Ej?:c! ofFaiIure to Respond: Disclosure is voluntary However, failure to supply
the requested information or to execute the form may render your claim “invalid".

INS'I`RUCTIONS

Complete all items - insert the word NONE where applicable

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROM A CLAIMANT, lllS DULY AUTHGRIZED AGENT, OR
LEGAL REPRESENTATIVE AN EXECUTED STANDARD FORM 95 OR OTHER
WRITTEN NOTIFICATION OF AN lNClDENT, ACCOMPANIED BY A CLAIM FOR
MONEY DAMAGES IN A SUM CERTAIN FOR INJURY 'l`O OR LOSS OF

Any instructions or information necessary in the preparation of your claim Will be
fumished, upon request, by the office indicated in item #l on the reverse side.
Complete regulations pertaining to claims asserted under the cheral Tort Claims Act
can be found in 'I`itie 28, Code of Federal Regulations, Part l4. Many agencies have
published supplemental regulations also. lt` more than one agency is involved, please
state each agency

The claim may be filed by a duly authorized agent or other legal representative,
provided evidence satisfactory to the Government is submitted with said claim
establishing express authority to act for the claimant A claim presented by an agent or
legal representative must be presented in the name of the claimant lf the claim is
signed by the agent or legal representative it must show the title or legal capacity of
the person signing and be accompanied by evidence of his/her authority to present a
claim on behalf ot` the claimant as agent, executor, administrator, parent, guardian or
other representativeh

It` claimant intends to file claim for both personal injury and property daxnage, claim
for both must he shown in item #12 ofthis form.

The amount claimed should be substantiated by competent evidence as follows:

(a) ln support of the claim for personal injury or death, the claimant should submit
a written report by the attending physician, showing the nature and extent of injury,
the nature and extent of treatment, the degree of permanent disabiliry, if any, the
prognosis, and the period of hospitalization, or incapacitation, attaching itemized bills
for medical, hospital. or burial expenses actually incurred

PROPERTY, PERSONAL INJURY, OR DEATH ALLEGED TO HAVE OCCUR.RED BY
REASON OF THE INCIDENT, THE CLAIM MUST BE PRESENTED TO TH_E
APPRGPRIATE FEDERAL AGENCY WITlllN TWO YEARS AFTER THE CLAIM
ACCRUES.

(b) ln support of claims for damage to property which has been or can be
economically repaired, the claimant should submit at least two itemized signed
statements or estimates by reliable, disinterested concems, or, it` payment has been
made, the itemized signed receipts evidencing payment

(e) in support ofclaims for damage to property which is not economically rcpairable,
or if the property is lost or destroyed, the claimant should submit statements as to the
original cost of the property, the date of purchase, and the value ofthe property, both
before and alter the accident Such statements should be by disinterested competent
pcrsons, preferably reputable dealers or officials familiar with the type of property
damaged, or by two or more competitive bidders, and should be certified as being just
and correct.

(d) Failurc to completely execute this form or to supply the requested material

within two years from the date the allegations accrued may render your claim “invalid”.
A claim is deemed presented when it is received by the appropriate agency, not when

it is mailed

Failure to specify s sum certain will result in invalid presentation of your claim
And may result in forfeiture of your rights.

 

 

Pubiic reporting burden for this collection of information is estimated,to average 15 minutes per response, including the time for reviewing instructions, searching existing
data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information Send comments regarding this burden estimate or
other aspect of this collection of information, including suggestions for reducing this burden,

to Direotor7 Torts Branch
Civil Division
U.S. Department of Justice
Washington, D_C 20530

and to the

Office of Management and Budget
Paperwork Reduction Project (1105~0008)
Washinuton, DC 205 03

 

INS URANCE COVERAGE

 

In order that subrogation claims be adjudicated it is essential that the claimant provide the following information regarding the insurance coverage of his vehicle or property

 

15 , Do you carry accident insurance?

N/A (no vehicle or property damage)

Yes, if yes give name and address of insurance company (Number, street, city, Staze, and Zip Cude) and policy number. No

 

lo. Have you filed claim on your insurance carrier in this instance, and if so, is it full coverage or deductible?

Virginia Worker‘s C_ompensation insurance filed

l'!. if deductiblc, state amount

N/A

 

 

lB. if claim has been filed with your carrier, what action has your insurer taken or proposes to take with reference to your claim? (It is necessary rhatyou ascertain thesefacts)

$526.51 paid Weekly plus certain medical bills

 

 

l9. Do you carry public liability and property damage insurancc'!

N/A (no vehicle or property damage)

Yes, if yes, give name and address of insurance carrier (Number, street city, S:are, and Zip Code) No

 

SF 95 (Rev. 7~85) BACK

* U.S. GOVERNMENT PRINTING OFFICE: 1989~-241-175

 

 

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CIVIL COVER SHEET
Jl:;;‘.‘l/os I)C)
1_§3) PP_ATN_T.I!*`F_S ................................. PEFEN.D_I‘:N?§ ___________________________________
:David R. Hose EThe United States of America

1206 E. vvhir\ock Avenue
:Winchester. Virginia 22601

(b) COUNTY OF RESIDENCE ()F 1"1RS'1` LlS'I`ED PI,AINTIFF
(F.XCEPT IN U.S. PLAlNTIFF CASES)

\

LAND ]NVOLVED

11001

COUNTY OF RESlDENCl". OF FiRST LIS']`ED DEFENDANT
(lN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCA'I`!ON OF THE TR.ACT OF

 

il_eslie D. Hershneld, Esquire

1401 East Pratt Street, Suite 1800
§Ba|timore, Maryland 21202 `
:410-332-0850

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)

:Schu|man, Treem, aminkow, Gilden & Ravene||, P.A.

ATTORNEYS (IF KNOWN)

 

 

II. BASIS OF JURISDICTION
(PLACE AN x IN ONE BOX ONLY)

9 1 U.S, Governrnent
Plaintiff

®

2 U.S. Government
Defendant

@ 3 cheralQuestion
(U.S. Government Not a Party)

O 4 Diversity
(Indicate Citizenship of
Parties in item 111)

 

III CITIZENSHIP OF PRINClPAL PARTIES (PLACE AN x xN ONE BOX
FOR PLAINTIFF AND ONE BOX FoR DEFENDANT> FOR bivenser CAsF.S oNLY!

PTF DFT PTF DFT
Cilizen of this State 0 l ® 1 Incorporated or Principal Place O 4 9 4
of Business in This State
Cilizen of Another State @ 2 O 2 Incorporated and Prinoipal Place ® 5 5
ofBusiness in Another State
Citizen or Subject of a 6 3 0 3
Foreign Country Foreign Nation ® 6 ® 6

 

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place a X in one category, A-N, that best represents your cause of action and Qg§ in a corresponding Nature of Suit)

 

9 A. Antitrust

m 410 Antitrust [::] 310 Airplane

[::] 340 Marine

 

O B. Personal Injury/
Malpra.clice

L:] 315 Airplane Pmduet Liabilicy
l::] 320 Assault, Libel & Slander
l::] 330 Federal Employers Liahility

m 345 Marine Product Liability

|::i 350 Momr vehicle

i:} 355 Mowr vehicle Produc¢ Liabimy
360 Other Personal lnjury

l:.j 362 Medical Malpractice

L:] 365 Product Liabilicy

[;:J 368 Asbesms Producr Liabilicy

 

C. Administrative Agency
Review

§::] 151 Medicare Act

[:j 861 HIA ((13950)
1113
CIJ
[:IJ

862 Black Lung (923)

863 I)IWC/DIWW (405(g)

864 SSID Title XVl

[:] 865 Rsl (405(g)

QL*MMS§.

[::§ 891 Agricultural Acts

[:} 892 Economic Stabilization Act

[::} 893 Environmental Matters

f:f 894 Energy Allocation Act

['__`:] 890 Other Statutory Actious (If
Administrative Agency is lnvolved)

 

9 D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category may

be selected for this category of case

assignment

*(If Antitrust, then A governs)*

 

0 E. General Civil (Other)

OR

© F. Pro Se General Civil

 

Real Properg
[:3210 Land Condemnation
{::]220 Foreclosure
1::]230 Rent, Lease & Ejectment
[::]240 Torts to Land
[::\245 Tort Product Liability
[::]290 All 0ther Real Property

I’ersonal Progertx
[::l370 Other Fraud

[::]371 Truth in Lending
[::]380 Other Personal Property Damage
\:]385 Property Damage Product Liability

 

 

Bankru tc
l l 422 Appea128 USC 158

[:} 423 Withdrawal 28 USC 157

Prisoner Petitions

535 Death Penalty
\:,:} 540 Mandamus & Other

[::I 550 Civil Rights

[::] 555 Prison Coudition

Property Rights
[::f 820 Copyrights
['_':] 830 Patent
m 840 Trademark

Federal Tax Suits

[::§ 870 Taxes (US plaintiff or

defendant

§::i 871 IRs-'rhird Parry 26

USC 7609

Forfeiture/Penalty_
f_:] 610 Agriculture
[::} 620 Other Food &Drug
[::] 625 Drug Related Seizure
of Property 21 USC 881
[:i 630

Liquor Laws
[:] 640 RR & Truck
[::| 650 Airline Regs
[:] 660 occupational

Safety/Health
[:] 690

Oth er

Q.QQIM

1::\ 400 State Reapportionment

[_`_:] 430 Banks & Banking

[::] 450 Commerce/ICC
Rates/etc.

I::I 460 Deportation

 

{:] 470
{::1 480
[:3 490
[:] 810
[:j_] 850
[:_'} 875
[_’_'j] 900
[jj 950

!:3 890

Racketeer lufluenced &
Corrupt Orgauizations
Consumer Credit
Cable/Satellite TV

Selective Service
Securities/Commodities/
Exchange

Customer Challenge 12 USC
3410

Appeal of fee determination
under equal access to Justice
Constitutionality of State
Statutes

Other Statutory Actions (if
not administrative agency

review or Privacy Act

 

 

 

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O G. Habeas Corpus/
2255

[:.:l 530 Habeas Corpus-General
[:i 510 Motion/Vacate Sentence

 

0 H. Employment
Discrimination

l::l 442 Civii Rights-Einpinyinent
(criteria: race, gender/sex,
national origin,
discrimination, disability
age, religion, retaliation)

*(lt` pro se, select this deck)*

 

O I. FOIA/PRIVA CY

ACT

m 895 Freedom of Information Act
i::] 890 Other Statutory Actions
(if Privacy Act)

*(11` pro se, select this deck)*

 

G J. StudentLoan

i::] 152 Recovery of Defaulted
Student Loans
(excluding veterans)

 

@ K. Labor/ERISA
_ (non-employment)

[:1 710 Fair Lnbnr standards Act
720 Labor/Mgmt. Relations '
l:] 730 Labor/Mgmt. Reporting &
Disclosure Act
l:;l 740 Labnr Rnilwny Act
[::i 790 Othcr Labor litigation
791 Empl. Ret. Inc. Security Act

 

(non~employment)

l::] 441 voting (if net voting Rights
Act)

i;:i 443 Housing/Accommodations

444 Welfare

l:l 440 other Civil Rights

[::l 445 American W/Disabilities-
Employment

m 446 Americans w/Disabilities-
Other

 

0 L. 0ther Civil Righls

@ M. Comract

110 lnsurance

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of 0verpayment &
Enforcement ol` Judgment

153 Recovery of Overpayment of
Veteran’s Benel`its

160 Stockholder’s Suits

190 Other Contracts

195 Ctmtract Product Liability
196 Frauchise

 

l:l[l[l[l l:l U[l[l[l[l

O N. Three-Judge Court

[:] 441 Civii Riglits-vnting
(il' Voting Rights Act)

 

 

 

V. ORlGlN
lOriginal 6 2 Removed
Proceeding from State
Court

® 3 Remanded from
Appellate Court

O 4 Reinstated
or Reopened

0 5 Transferred from
another district
(specify)

0 6 Mniti district
Litigatiou

7 Appeal to
District Judge
from Mag. Judge

 

l
l

VII. REQUES'I`ED IN
COMPLAINT

VIII. RELATED CASE(S)
IF ANY

DATE ~1£;04~07

CHECK lF THlS lS A CLASS
ACTION UNDER F.R.C.P. 23

(See instruction)

YEs [W
sl<;NATURE or ATToRNEY or RECORD ¢’/i,j\"\\ lew f’/\
., v v 4

DEMAND $ i.:_l§@§§»§<“>_f?_-§d_`_

JURY DEMAND:

No|:(:[

VL_ QAH&E QFWA§IJQNM@ITE THE U.s. clvlL sTATUTE UNnER wHICH YoU ARE FILING AND wRI'rE A BRlEF sTATEMENT oF CAUSE_.)m l

l
1

: Check YES onl if demanded in complaint
YEs X No

lf yes, please complete related case form.

 

lNSTRUCTIONS FOR COMPLETING ClVlL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleadings or other papers as required by
law, except as provided by local rules ofcourt. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet Consequently a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. Listed below are tips
for completing the civil cover shect. These tips coincide with the Rornan Numerals on the Cover Sheet.

COUNTY OF RESIDENCE OF FIRST LlSTED PLAIN'l`lFF/DEFENDANT (b) County of residence: Use 1 1001 to indicate plaintiffis resident of

Washington, D.C.; 88888 if plaintiff is resident of the United States but not of Washington, D.Ci, and 99999 if plaintiff is outside the United States

CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction under Section

CASE ASSlGNMENT AND NATURE OF SUIT: The assignment of ajudge to your case will depend on the category you select that best represents the

primary cause of action found in your complaint You may select only B category You must also select M corresponding nature of suit found under

I.
lll.
ll.
IV.
the category of case.
VI.
Vlll.

Ofi`ice.

CAUSE OF ACTION: Cite the US Civil Statute under which you are filing and write a brief statement of the primary cause.

RELATED CASES, IF ANY; lf you indicated that there is a related case, you must complete a related case form, which may be obtained from the Clerk’s

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.

